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             In the United States Court of Federal Claims
                                                  No. 19-1874
                                            (Filed: 10 April 2020 ∗)

***************************************
AMERICAN RELOCATION                     *
CONNECTIONS, LLC,                       *
dba ARC RELOCATION, LLC,                *                     Post-award bid protest; best-value trade off;
                                        *                     FAR Subpart 8.4; RCFC 52.1; judgment on
                  Plaintiff,            *                     the administrative record; equally-weighted
                                        *                     subfactors.
v.                                      *
                                        *
THE UNITED STATES,                      *
                                        *
                  Defendant,            *
                                        *
and                                     *
                                        *
RELIANCE RELOCATION SERVICES,           *
INC., dba RELO DIRECT, INC.,            *
                                        *
                  Defendant-Intervenor. *
                                        *
***************************************

      W. Barron A. Avery, of Baker & Hostetler, LLP, with whom was Brian V. Johnson, both
of Washington, DC, for plaintiff.

       Shari A. Rose, Senior Trial Attorney, Commercial Litigation Branch, Civil Division,
Department of Justice, with whom were Joseph H. Hunt, Assistant Attorney General, Robert E.
Kirschman, Jr., Director, and Douglas K. Mickle, Assistant Director, all of Washington, DC, for
defendant.

       William F. Savarino, of Cordatis LLP, with whom were John J. O’Brien and Joshua
Schnell, all of Arlington, VA, for defendant-intervenor.

                                          OPINION AND ORDER



∗
 This opinion was originally filed under seal on 8 April 2020 pursuant to the protective order in this case. The
Court provided the parties two days to review this opinion for any proprietary, confidential, or other protected
information, and submit to the Court proposed redactions, if any, before the opinion is released for
publication. Plaintiff and intervenor proposed minimal redactions. The Court accepts plaintiff’s and intervenor’s
redactions, with redacted language replaced as follows: [XXX].
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HOLTE, Judge.

        Plaintiff, American Relocation Connections, LLC, doing business as ARC Relocation,
LLC (“plaintiff”) protests the decision of the U.S. Department of Homeland Security, Customs
and Border Protection (“CBP” or “Agency”) to award an employee relocation services contract
to defendant-intervenor, Reliance Relocation Services, Inc., doing business as RELO Direct, Inc.
(“intervenor” or “awardee”). Pending before the Court is: (1) plaintiff’s motion for judgment on
the administrative record; (2) the government’s cross-motion for judgment on the administrative
record; (3) intervenor’s cross-motion for judgment on the administrative record; (4) plaintiff’s
motion to withdraw its motion for preliminary injunction; and (5) plaintiff’s motion to
supplement the administrative record. For the following reasons, the Court: (1) DENIES
plaintiff’s motion for judgment on the administrative record; (2) GRANTS the government’s
cross-motion for judgment on the administrative record; (3) GRANTS intervenor’s cross-motion
for judgment on the administrative record; (4) DENIES AS MOOT plaintiff’s motion to
withdraw its motion for preliminary injunction; and (5) DENIES AS MOOT plaintiff’s motion
to supplement the administrative record.

I.      Background

        A. The Solicitation

        On 19 January 2018, CBP issued Request for Quotation (“RFQ” or the
“Solicitation”) No. 70B05C18Q00000021 for the procurement of employee relocation services.
Admin. Record at 107, ECF No. 30 (“AR”). The procurement was limited to holders of General
Services Administration (“GSA”) Schedule 48 contracts. 1 Id. at 8. “The Government
contemplate[d] award of a firm-fixed price Blanket Purchase Agreement [“BPA”] resulting from
this solicitation.” Id. at 125. The RFQ provided for a 12-month base period with four 12-month
options. Id. at 109. The government would award the BPA “to the responsible Offeror whose
quote conforming to the solicitation will be most advantageous to the Government, price and
other factors considered.” Id. at 128.

         The RFQ listed three factors, “in descending order of importance,” the government would
use to evaluate offers: (1) technical capability; (2) past performance; and (3) price. Id. The first
factor, technical capability, comprised five sub-factors “of equal weight:” (A) “Home Sale
Services;” (B) “Move Management Services;” (C) “Financial Capability and Financial
Resources;” (D) “Property Management and Internal Key Controls;” and (E) “Reporting &
Online Capabilities and Security.” AR at 128.

       The RFQ provided “evaluation will be based on a Best Value trade-off process.” Id.
Specifically:

        When combined, Technical Capability and Past Performance are more important
        than Price. As the technical evaluation of quotes approaches equality, price

1
  Plaintiff was “the incumbent contractor on Agency Contract No. HSB1014A00027 . . . to provide relocation and
related services to employees of the CBP.” Pl.’s Mot. for J. on the Admin. Record at 3, ECF No. 33. That contract
was set to expire fiscal year 2017. See AR at 3.

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       becomes more important in making the award determination. The importance of
       price will increase as the difference in technical ratings (Technical Capability and
       Past Performance) between the Offerors decreases. In the event that two or more
       quotes are determined not to have any substantial technical differences (i.e. are
       technically equivalent), award may be made to the lowest priced quote. It should
       be noted that award may be made to other than the lowest price quote if the
       Government determines that a price premium is warranted due to technical merit.
       The Government may also award to other than the highest technically rated quote
       if the Government determines that a price premium is not warranted.

Id.

       B. Contract Evaluation and Award

        Four companies holding GSA Schedule 48 contracts submitted quotes, but CBP excluded
two offerors from the competitive range due to non-compliance and non-responsiveness. AR at
471. The Agency selected a competitive range comprising plaintiff and intervenor. Id. at 474.
“After the Technical Evaluation Team completed its evaluation of the technical quote, a
determination was made that discussions were necessary.” Id. at 1038. On 1 March 2019, CBP
informed both plaintiff and awardee it “has decided to hold discussions for this acquisition in
accordance with FAR [Federal Acquisition Regulation] 15.306(d) with offerors in the
competitive range.” AR at 476, 484. By opening discussions, CBP gave plaintiff and intervenor
“the opportunity to address, explain or alter identified aspects of [their] quote[s] through
discussions in order to maxim[ize] the Government’s ability to obtain best value . . . .” Id.

       Following written discussions, on 22 March 2019, plaintiff submitted its final revised
quote to CBP, and on 25 March 2019, intervenor submitted its final revised quote. See AR at
861, 926.

        Once the offerors submitted their final quotes, the Technical Evaluation Team (“TET”)
completed its Final Technical Evaluation Report. See AR Tab 74. The TET used the following
adjectival ratings to evaluate the proposals under Factor 1:




Id. at 1042. The TET further used the following terms with the adjectival ratings to evaluate the
proposals: Significant Strength; Strength; Weakness; Significant Weakness; and Deficiency. Id.

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A “Significant Strength” means “an aspect of the quote which provides significant benefit to the
Government.” Id. A “Strength” means “an aspect of the quote which provides benefit to the
Government.” Id. A “Weakness” means “a flaw in the quote that decreases the Government’s
confidence in the Offeror’s ability to successfully perform the requirements of the contract.” Id.
A “Significant Weakness” means “a flaw in the quote that appreciably decreases the
Government’s confidence in the Offeror’s ability to successfully perform the requirements of the
contract.” AR at 1042. Lastly, a “Deficiency” refers to “a material failure of a quote to meet a
Government requirement or a combination of significant weaknesses in the quote that increases
the risk of unsuccessful contract performance to an unacceptable level.” Id.

       The TET similarly used the following adjectival ratings to evaluate the proposals under
Factor 2, Past Performance:




Id. at 1043.

        Using these ratings, the TET gave plaintiff and intervenor the following ratings as its
final evaluation:




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Id. at 1044. The TET report thoroughly analyzed the strengths and weaknesses of plaintiff’s and
intervenor’s proposals to explain the adjectival ratings given to each. See AR at 1044–62.

         The Contracting Officer (“CO”) additionally conducted a price analysis of plaintiff’s and
intervenor’s final price quotes to determine if the quotes were fair and reasonable. See AR at
1063–64. The CO compared plaintiff’s and intervenor’s proposed prices to their GSA Schedule
48 rates. Id. at 1064. Since each offerors’ proposed rates did not exceed their GSA Schedule
rates, the CO concluded each offerors’ price was fair and reasonable. Id.

        As documented in the Source Selection Authority Award Decision, the Source Selection
Authority (“SSA”) reviewed the TET report and “concur[red] with it in all respects.” Id. at
1081. The SSA, however, as the procurement required, “performed an independent analysis of
the information provided in order to accomplish an integrated assessment of the Technical and
Price Evaluation Team findings and conducted a comparative assessment of the offeror’s [sic]
proposals by comparing the strengths and benefits offered to the government.” Id. For the
offerors’ ratings under Factor 1 Technical Capability, the SSA summarized the TET’s findings.
For subfactor A, plaintiff had a “slight advantage” because it “proposed its [XXX] of facilitating
open market home sale transactions compared to [intervenor’s] [XXX]” and “[w]ith respect to
managing sub-operations, [plaintiff] had a slight advantage by being more expansive. Id. at
1082. The proposals “were technically equal in terms of benefits to the Agency for sub-factor
B.” AR at 1082. Intervenor “was superior in sub-factor C as [intervenor’s] approach showed a
substantial comparative advantage over [plaintiff] regarding financial capability and resources to
fund aspects of the relocation services requirement that would require financial outlays from the
contractor.” Id. The proposals were similarly “technically equal” for subfactor D. Id. Finally,
plaintiff “was superior in sub-factor E as [plaintiff] proposed relatively higher number
mechanisms for securing [Personally Identifiable Information] data when compared to
[intervenor’s] approach under the sub-factor.” Id. After summarizing these strengths, the SSA
concluded for Factor 1, the proposals were “essentially technically equal in terms of benefits to
the government because no combination of strengths or benefits proposed surpassed the other.”
Id. “Although [plaintiff] had a slight advantage in Subfactor A and was superior in Subfactor E,
the Government views the enhanced benefits associated with [intervenor’s] financial capability
(Subfactor C) as essentially equal to [plaintiff’s] advantages in terms of benefit to the
government.” Id.

        Regarding Factor 2 Past Performance, the SSA concurred in the TET evaluation and
found both proposals to be “satisfactory.” AR at 1082. Plaintiff’s past performance was
“superior for having one fully relevant award -the current CBP contract,” and plaintiff had a high
quality of performance based on previously submitted past performance questionnaires. Id.
[XXX] The SSA concluded for this factor, “[a]lthough [plaintiff’s] past performance is superior,
both offerors have demonstrated . . . they have the past performance in order to meet CBP’s
technical requirements and successfully perform this requirement.” Id.

        Lastly, for Factor 3 Price, the Agency did not give adjectival ratings. Id. The SSA relied
on the price reasonableness determination that “[b]oth offeror’s price proposals were below their



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GSA schedule rates and determined to be fair and reasonable,” but noted intervenor’s “price was
$900,712.50 lower than [plaintiff’s].” Id.

      Overall, the SSA determined intervenor’s proposal offered the best value to the
government, in light of plaintiff’s price premium of $900,712.50, or 15%:

       After accomplishing the integrated assessment, considering the established and
       stated order of importance for the evaluation factors in accordance with the RFQ,
       it is my determination that [intervenor’s] proposal offers the best value for fulfilling
       the Government’s requirements. [Intervenor’s] overall price is lower than
       [plaintiff’s] overall price, and I do not find that [plaintiff’s] more favorable past
       performance merits a price premium of $900,712.50. [Plaintiff’s] proposal has not
       demonstrated any number of strengths or benefits (including better past
       performance) that warrant the Government paying this price premium estimated to
       be 15%.

       [Intervenor’s] proposal yields confidence that they will successfully perform the
       work under the contract. I have determined that [intervenor’s] proposal is a fair
       and reasonable price and awarding the Blanket Purchase Agreement to them is in
       the best interest of the Government.

AR at 1082–83.

       On 15 August 2019, the Agency notified intervenor it was awarded the BPA. Id. at 1084.
The next day, on 16 August 2019, the Agency notified plaintiff it awarded the contract to
intervenor. Id. at 1104. Plaintiff requested a debriefing the same day. Id. at 1136.

       On 21 August 2019, the Agency sent plaintiff a brief explanation of its award decision.
See AR Tab 81. The brief explanation summarized the Agency’s evaluation of plaintiff’s
proposal and provided the SSA’s rationale for the award:

       The Source Selection Authority did not find that [plaintiff’s] superior past
       performance justifies an almost 15% price premium, given that [intervenor’s] past
       performance was Satisfactory and demonstrates that [intervenor] can successfully
       perform this effort. Further, both offerors were technically equal in terms of
       benefits to the Government with respect to Factor 1 – the most important factor.

Id. at 1117.

       C. Government Accountability Office Protest




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        On 23 August 2019, ARC filed a protest with the Government Accountability Office
(“GAO”), along with a supplemental protest filed on 30 August 2019. 2 See AR at 1131–32. In
that protest, plaintiff argued the Agency:

        (1) imposed unstated evaluation criteria and treated the protester’s and the
        awardee’s quotations disparately under the financial capability and resources
        subfactor; (2) unreasonably evaluated the protester’s technical quotation under the
        property management subfactor by failing to assign a significant strength for the
        protester’s incumbent experience; (3) failed to conduct meaningful discussions; and
        (4) made an unreasonable selection decision by deviating from the stated weighting
        scheme for the five subfactors under the technical capability factor and conducting
        a flawed best-value tradeoff.

Id. at 2270. On 22 November 2019, GAO denied plaintiff’s protest. See id. Tab 106. GAO
issued the decision publicly on 3 December 2019. See id. at 1133.

        D. This Protest

        Plaintiff filed its complaint on 11 December 2019, along with a motion for protective
order, motion for leave to file its complaint under seal, and motion for preliminary injunction.
See Compl., ECF No. 1; Pl.’s Mot. for Protective Order, ECF No. 5; Pl.’s Mot. for Leave to File
Compl. Under Seal, ECF No. 6; Pl.’s Mot. for Prelim. Inj., ECF No. 7. On 13 December 2019,
intervenor filed its motion to intervene in this protest, and the Court granted the motion the same
day. See Mot. to Intervene, ECF No. 15; Order, ECF No. 17. The parties filed a joint status
report proposing a schedule for proceedings in this case on 16 December 2019. See Joint Status
Report & Joint Proposed Schedule, ECF No. 18. The Court held a telephonic status conference
to discuss the proposed schedule. See Order, ECF No. 14. Pursuant to discussions regarding
contents of the protective order, following the status conference, the parties filed a joint motion
for protective order on 19 December 2019. See Joint Mot. for Protective Order, ECF No. 19.
The Court granted the motion for protective order on 20 December 2019. See Protective Order,
ECF No. 21. The same day, the Court granted plaintiff’s motion for leave to file its complaint
under seal. See Order, ECF No. 20. In the same order, the Court found plaintiff’s motion for
preliminary injunction was moot because the government agreed to voluntarily stay contract
performance pending the Court’s resolution of this protest. Id. For the same reason, on 9
January 2020, plaintiff moved to withdraw its motion for preliminary injunction. See Mot. to
Withdraw Prelim. Inj., ECF No. 29.

        On 10 January 2020, the government filed the administrative record. See AR. On 14
January 2020, the government filed an unopposed motion for leave to correct the administrative
record, which the Court granted on 16 January 2020. See Mot. to Correct the Admin. Record,

2
 Plaintiff filed a pre-award bid protest with the GAO concerning this same procurement on 12 February 2018. AR
at 1066. On 18 May 2018, GAO dismissed the protest. Id. Plaintiff then filed a protest in this Court on 2 July
2018, which this Court denied on 24 September 2018. Id.; see also Am. Relocation Connections, LLC v. United
States, 139 Fed. Cl. 747 (2018). On 26 November 2018, the Agency learned plaintiff appealed this Court’s 24
September 2018 decision to the Federal Circuit. AR at 1066. On 11 October 2019, in an unpublished opinion, the
Federal Circuit affirmed this Court’s denial of plaintiff’s pre-award bid protest. See Am. Relocation Connections,
LLC v. United States, 789 F. App’x 221 (Fed. Cir. 2019).

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ECF No. 31; Order, ECF No. 32. On 24 January 2020, plaintiff filed its motion for judgment on
the administrative record and a motion to supplement the administrative record. See Pl.’s Mot.
for J. on the Admin. Record, ECF No. 33 (“Pl.’s MJAR”); Pl.’s Mot. to Suppl. Admin. Record,
ECF No. 34 (“Pl.’s Mot. to Suppl. AR”). The government and intervenor filed their respective
responses to plaintiff’s motion and cross-motions for judgment on the administrative record on 7
February 2020. See Def.-Intervenor’s Opp’n to Pl.’s MJAR & Cross-Mot. for J. on the Admin.
Record, ECF No. 35 (“Intervenor’s MJAR”); Def.’s Cross-Mot. for J. on the Admin. Record &
Resp. to Pl.’s MJAR, ECF No. 36 (“Def.’s MJAR”). On 21 February 2020, plaintiff filed its
reply to the government’s and intervenor’s responses and its response to their cross-motions. See
Pl.’s Reply & Resp. to Gov’t’s & Intervenor’s Resps. & Cross-Mots. for J. on the Admin.
Record, ECF No. 37. The government and intervenor filed their respective replies in support of
their cross-motions on 6 March 2020. See Def.-Intervenor’s Reply to Pl.’s Resp. to Defs.’ Cross-
Mots. for J. on the Admin. Record, ECF No. 38; Def.’s Reply in Supp. of its Cross-Mot. for J. on
the Admin. Record, ECF No. 39. The Court held oral argument on the cross-motions for
judgment on the administrative record on 12 March 2020. See Order, ECF No. 22.

II.    Discussion

       A. Legal Standards

               1. Bid Protest Jurisdiction and APA Standard of Review

        The Tucker Act provides this Court jurisdiction to “render judgment on an action by an
interested party objecting to a solicitation by a Federal agency for bids or proposals for a
proposed contract or to a proposed award or the award of a contract or any alleged violation of a
statute or regulation in connection with a procurement or a proposed procurement.” 28 U.S.C. §
1491(b)(1). In rendering such judgment, this Court “review[s] the agency’s decision pursuant to
the standards set forth in section 706 of title 5.” Id. § 1491(b)(4). “Among the various
[Administrative Procedure Act] standards of review in section 706, the proper standard to be
applied in bid protest cases is provided by 5 U.S.C. §706(2)(A): a reviewing court shall set aside
the agency action if it is ‘arbitrary, capricious, an abuse of discretion, or otherwise not in
accordance with law.’” Banknote Corp. of Am. v. United States, 365 F.3d 1345, 1350 (Fed. Cir.
2004) (citing Advanced Data Concepts, Inc. v. United States, 216 F.3d 1054, 1057–58 (Fed. Cir.
2000)). Under this standard, “a court is not to substitute its judgment for that of the agency.”
Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 43 (1983).
“The arbitrary and capricious standard applicable here is highly deferential,” and “requires a
reviewing court to sustain an agency action evincing rational reasoning and consideration of
relevant factors.” Advanced Data Concepts, Inc. v. United States, 216 F.3d 1054, 1058 (Fed.
Cir. 2000) (citing Bowman Transp., Inc. v. Arkansas-Best Freight Sys., Inc., 419 U.S. 281, 285
(1974)).

               2. Judgment on the Administrative Record in a Bid Protest

       Rule 52.1(c) of the Rules of the Court of Federal Claims “provides for judgment on the
administrative record.” Huntsville Times Co. v. United States, 98 Fed. Cl. 100, 104 (2011). Rule



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52.1(c) was “designed to provide for trial on a paper record, allowing fact-finding by the trial
court.” Bannum, Inc. v. United States, 404 F.3d 1346, 1356 (Fed. Cir. 2005).

        This Court may set aside a contract award if: “(1) the procurement official’s decision
lacked a rational basis; or (2) the procurement procedure involved a violation of regulation or
procedure.” Impresa Construzioni Geom. Domenico Garufi v. United States, 238 F.3d 1324,
1332 (Fed. Cir. 2001). “When a challenge is brought on the second ground, the disappointed
bidder must show ‘a clear and prejudicial violation of applicable statutes or regulations.’” Id. at
1333. “[D]e minimis errors do not require the overturning of an award.” Grumman Data Sys.
Corp. v. Dalton, 88 F.3d 990, 1000 (Fed. Cir. 1996). “De minimis errors are those that are so
insignificant when considered against the solicitation as a whole that they can safely be ignored
and the main purposes of the contemplated contract will not be affected if they are.” Id. (internal
quotation marks omitted) (quoting Andersen Consulting v. United States, 959 F.2d 929, 935
(Fed. Cir. 1992)). A bid protest plaintiff must establish alleged “errors in the procurement
process significantly prejudiced [it]” by showing “there was a ‘substantial chance’ it would have
received the contract award but for the errors.” Bannum, Inc., 404 F.3d at 1353.

               3. Permanent Injunction

       When deciding whether a permanent injunction is warranted,

       a court considers: (1) whether, as it must, the plaintiff has succeeded on the
       merits of the case; (2) whether the plaintiff will suffer irreparable harm if the
       court withholds injunctive relief; (3) whether the balance of hardships to the
       respective parties favors the grant of injunctive relief; and (4) whether it is in the
       public interest to grant injunctive relief.

PGBA, LLC v. United States, 389 F.3d 1219, 1228–29 (Fed. Cir. 2004).

       B. Analysis

         Plaintiff challenges the Agency’s contract award to intervenor on two primary grounds.
First, plaintiff claims the Agency “violated the FAR by evaluating proposals inconsistently with
the Solicitation’s evaluation scheme.” Pl.’s MJAR at 11. Second, plaintiff claims the Agency
“perform[ed] a flawed best value trade-off” because: “the SSA’s trade-off decision was based on
an evaluation inconsistent with the Solicitation;” “the Agency essentially conducted a lowest-
price technically acceptable procurement rather than a best value trade-off;” and “the SSA
insufficiently documented its purported best value decision.” Id. at 11, 16.

        In response, the government argues the Agency’s “evaluation of the technical capability
factor and its subfactors was consistent with the RFQ’s evaluation scheme and was rational.”
Def.’s MJAR at 12. The government also asserts plaintiff “fails to demonstrate any error” in the
Agency’s best value trade-off decision. Id. at 15. In the same vein, intervenor argues “the
agency did not apply unequal weight to the Factor 1, technical capability, subfactors.”
Intervenor’s MJAR at 15. In addition, “the Agency’s best value determination was reasonable.”
Id. at 25.

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               1. Whether the Agency Equally Weighed Subfactors under Factor 1

        Plaintiff first argues the Agency violated FAR 8.405-3 because it did not conform to the
Solicitation’s evaluation scheme by not equally weighing the subfactors under Factor 1
Technical Capability. Pl.’s MJAR at 12–15. The RFQ provided each sub-factor under Factor 1
is “of equal weight.” AR at 128. FAR 8.405-3(b)(1)(ii)(C) states the contracting officer “[s]hall
ensure all quotes received are fairly considered and award is made in accordance with the basis
for selection in the RFQ.” Plaintiff points to the SSA Award Decision where, conducting the
best value trade-off analysis, the SSA states “[a]lthough [plaintiff] had a slight advantage in
Subfactor A and was superior in Subfactor E, the Government views the enhanced benefits
associated with [intervenor’s] financial capability (Subfactor C) as essentially equal to
[plaintiff’s] advantages in terms of benefit to the government.” AR at 1082. Plaintiff therefore
argues this statement “translates to the Agency not giving equal weight to the subfactors by
giving more weight to Subfactor C and less weight to both Subfactor A and Subfactor E.” Pl.’s
MJAR at 14 (emphasis omitted).

        In response, the government argues, “CBP’s evaluation of the technical capability factor
and its subfactors was consistent with the RFQ’s evaluation scheme and was rational.” Def.’s
MJAR at 12. The government asserts that plaintiff “errs in contending that, because the
subfactors were equally weighted, the SSA was required to (1) tally up the number of subfactors
in which each offeror ‘prevailed’; and (2) determine that [plaintiff’s] proposal was technically
superior because [plaintiff] purportedly ‘prevailed’ in two subfactors, whereas [intervenor]
‘prevailed’ in one subfactor.” Id. (citing Pl.’s MJAR at 14–15). In so explaining, the
government quotes the GAO decision, where it reasoned, “[t]he fact that an agency’s source
selection decision turns on an evaluation consideration that is designated as equally—or even
less—important is unobjectionable since there is no requirement that the key award discriminator
also be the most heavily weighted evaluation consideration.” Id. at 9 (quoting AR at 2278)
(internal quotation marks omitted).

        Intervenor responds, arguing when determining which proposal presented the best value
to the government, “the SSA reasonably considered not only the number of subfactors on which
an offeror prevailed, but also the magnitude of the comparative advantages and disadvantages by
which the offeror prevailed on each of the subfactors.” Intervenor’s MJAR at 15. Further,
intervenor contends plaintiff’s “‘substitute’ evaluation methodology . . . is not contained in the
Solicitation, and . . . is fundamentally unreasonable because it only considers the number of
subfactors on which an offeror prevailed without considering the amount by which the offeror
prevailed on those subfactors.” Id. at 17. Intervenor additionally argues “the SSA’s
determination does not mean that the agency gave more weight to subfactor C than to the other
factors. Rather, it simply means that, just as [plaintiff] was a ‘stronger’ Superior, under
subfactor A, similarly, [intervenor] was a ‘stronger’ Superior, under subfactor C, and overall the
advantages balanced out.” Id. at 21. Once the advantages balanced out, “[t]he SSA’s
determination that the two offerors were essentially equal for factor 1 is clearly reasonable.” Id.
Lastly, the SSA’s judgment “that [plaintiff’s] advantages in subfactor A and E were balanced out
by [intervenor’s] advantages in subfactor C . . . does not require subfactor C be given more
weight and it was not.” Id. at 24.

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        “Procurement officials have substantial discretion to determine which proposal represents
the best value for the government.” E.W. Bliss Co. v. United States, 77 F.3d 445, 449 (Fed. Cir.
1996). “When technical evaluation errors are alleged, those technical ratings fall within a
category of ‘discretionary determinations of procurement officials that a court will not second
guess.’” iAccess Techs., Inc. v. United States, 143 Fed. Cl. 521, 527 (2019) (quoting E.W. Bliss
Co., 77 F.3d at 449). The Federal Circuit has stated adjectival ratings “are not subject to a
mathematical calculation.” Glenn Def. Marine (ASIA), PTE Ltd. v. United States, 720 F.3d 901,
909 n.6 (Fed. Cir. 2013). Additionally, as this Court has observed, “[t]he process of making a
‘best value’ decision is not merely an exercise in adding up strengths and weaknesses, but a
comprehensive comparative analysis that necessarily is influenced by the procurement official’s
expertise.” Coastal Int’l Sec., Inc. v. United States, 93 Fed. Cl. 502, 550–51 (2010) (citing
Galen Med. Assocs., Inc. v. United States, 369 F.3d 1324, 1330 (Fed. Cir. 2004)).

         This Court considered an analogous argument to plaintiff’s in Plasan North America v.
United States, 109 Fed. Cl. 561 (2013), appeal dismissed, Fed. Cir. No. 13-5071 (May 8, 2013).
In that case, the plaintiff similarly argued the agency placed greater weight on one subfactor,
despite the solicitation’s requirement that the subfactors be given equal weight. Id. at 577. The
plaintiff was “slightly superior” in the Quality of Items/Delivery Performance subfactor, while
the intervenor-awardee was “slightly superior” in the Experience subfactor. Id. The agency
determined the intervenor-awardee’s superiority “trump[ed] the slight superiority” of the
plaintiff. Id. This Court rejected the plaintiff’s argument that the agency unequally weighted the
subfactors and emphasized, “[i]t is well established that adjectival ratings are merely a guide.”
Id. (citing Hyperion Inc. v. United States, 92 Fed. Cl. 114, 119 (2010)). This Court further
explained, “[a]ward to [the intervenor-awardee] did not mean that Experience was weighted
more heavily, but rather that [the intervenor-awardee] outperformed [the plaintiff] on Experience
by a greater magnitude than [the plaintiff] outperformed [the intervenor-awardee] on Quality of
Items/Delivery Performance. This is perfectly reasonable, and consistent with the solicitation.”
Id. (emphasis added).

        In this case, the Solicitation provided that Factor 1, the most important factor, comprised
five equally-weighted subfactors. AR at 128. The SSA recognized in his best value
determination, “the sub-factors . . . were of equal weight.” Id. at 1081. The SSA also recognized
“the offerors had equal adjectival ratings for the sub-factors,” which led him to “view them as
essentially technically equal in terms of benefits to the government because no combination of
strengths or benefits proposed surpassed the other.” Id. at 1082. The Solicitation only provided
for one award; this required the SSA to choose one proposal over another. The SSA recognized
plaintiff “had a slight advantage for sub-factor A” because it “proposed its [XXX] of facilitating
open market home sale transactions compared to [intervenor’s] [XXX][, and] . . . [w]ith respect
to managing sub-operations, [plaintiff] had a slight advantage by being more expansive.” Id.
The SSA also noted plaintiff “was superior in sub-factor E” because it “proposed relatively
higher number mechanisms for securing [Personally Identifiable Information] data when
compared to [intervenor’s] approach under the sub-factor.” Id. Intervenor, however, “was
superior in sub-factor C” because its “approach showed a substantial comparative advantage
over [plaintiff] regarding financial capability and resources to fund aspects of the relocation
services requirement that would require financial outlays from the contractor.” AR at 1082.

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Since the SSA determined the proposals were “technically equal” on the most important factor,
the SSA had to choose a discriminator to distinguish between the proposals, especially one that
provided best value to the government. Id.

        Despite requiring the subfactors be given equal weight, nothing in the RFQ prevents the
Agency from considering the magnitude by which a given offeror’s proposal is superior to
another proposal. See Tyler Constr. Grp. v. United States, 570 F.3d 1329, 1333 (Fed. Cir. 2009)
(“[T]he proper inquiry is not whether the FAR authorizes [a method of procurement], but
whether there is any statutory or regulatory provision that precludes [it].”). Moreover, these
subfactors fell under Factor 1, Technical Capability. Procurement officials have significant
discretion when evaluating offerors’ technical capability, especially in a best value procurement.
See E.W. Bliss Co., 77 F.3d at 449. The SSA therefore had the discretion—and duty—to analyze
one offeror’s superiority over another, especially their technical capabilities to perform the
contract. The SSA acknowledged the proposals were “technically equal,” but properly looked
beyond the adjectival ratings to analyze the nuances of each proposal’s strengths and
weaknesses. AR at 1082.

        The SSA’s determination that the proposals were “technically equal” falls within the
“category of ‘discretionary determinations of procurement officials that a court will not second
guess.’” iAccess Techs., Inc., 143 Fed. Cl. at 527 (quoting E.W. Bliss Co., 77 F.3d at 449); see
also IBM Corp. v. United States, 101 Fed. Cl. 746, 761 (2011) (“An SSA’s finding that certain
proposals are technically equal is entitled to ‘great weight.’”). The SSA had the discretion to
make a best value judgment concerning the proposals’ technical advantages, and that judgment
necessarily involved considering the magnitude of the strengths, not just the quantity of
strengths. See Glenn Def. Marine, 720 F.3d at 909 n.6 (stating adjectival ratings “are not subject
to a mathematical calculation”); Coastal Int’l Sec., Inc., 93 Fed. Cl. at 550–51 (“The process of
making a ‘best value’ decision is not merely an exercise in adding up strengths and weaknesses,
but a comprehensive comparative analysis that necessarily is influenced by the procurement
official’s expertise.”) (citing Galen Med. Assocs., 369 F.3d at 1330). The weight given to
intervenor’s Subfactor C versus plaintiff’s Subfactors A and E was not outcome determinative
because the SSA considered the proposals “technically equal” under Factor 1. When making the
award decision, price ultimately became the decisive discriminator due to the 15% price
difference between the proposals, not five subfactors under Factor 1. See AR at 1082–83
(acknowledging technical equality, but determining to the extent plaintiff’s proposal was
superior, it was not worth the price premium over intervenor’s technically equal proposal).

        The Court finds plaintiff’s argument that the Agency failed to equally weigh the
subfactors virtually indistinguishable from that of the plaintiff in Plasan North America. There,
this Court found the agency’s determination that the awardee’s superiority in one equally-
weighted subfactor outweighed the plaintiff’s superiority in another subfactor. Plasan N. Am.,
Inc., 109 Fed. Cl. at 577. Just as in that case, the Agency here had the discretion to consider the
magnitude of superiority when comparing the proposals. Accordingly, the Court holds the
Agency’s evaluation of Factor 1’s five equally-weighted subfactors was reasonable and in
accordance with the Solicitation.

               2. Whether the Agency Conducted a Flawed Best Value Trade-Off Analysis

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         Plaintiff next argues the Agency conducted a flawed best value trade-off analysis
because: (1) the evaluation was “tainted” by the unequally weighted subfactors for Factor 1; (2)
the Agency in effect “conducted a lowest-price technically acceptable procurement rather than a
best value trade-off;” and (3) the SSA did not sufficiently document its best value trade-off
decision. Pl.’s MJAR at 16. First, plaintiff explains, “[b]y violating the equal-weight
requirement, the SSA managed to hold ARC and the Awardee as ‘technically equal’ for Factor
1,” and “the Agency used its ‘technically equal’ rating determination for Factor 1—the most
important factor—to justify increasing the importance of price because it had (impermissibly)
reduced the ‘difference in technical ratings (Factor 1 and 2).’” Id. at 17 (quoting AR at 1082).
Consequently, plaintiff asserts, “once the Agency arrived at its best value trade-off decision
point, it should have viewed [plaintiff] as prevailing on two factors, rather than one.” Id.
Further, plaintiff maintains the Agency effectively conducted a lowest-price technically
acceptable procurement, instead of the best value trade-off the Solicitation required, by
“minimiz[ing] the differences between proposals to elevate the relative importance of price.” Id.
at 18–19. In other words, by finding intervenor’s past performance “[s]atisfactory and
demonstrat[ing] that [intervenor] can successfully perform this effort,” “the SSA found the
Awardee’s proposal technically acceptable and at the lowest price.” Id. at 23. Finally, plaintiff
highlights the SSA’s determination that intervenor’s “overall price is lower than [plaintiff’s]
overall price, and [the SSA did] not find that [plaintiff’s] more favorable past performance merits
a price premium.” AR at 1082–83. Based on this language, plaintiff argues the SSA only
included a bare, conclusory statement, insufficiently documenting the Agency’s best value
determination. Id. at 24.

         The government responds by arguing the Agency’s best value determination was rational.
First, “[b]ecause the SSA’s evaluation of Factor 1 was consistent with the terms of the RFQ,
there was no ‘taint’ to the best value trade-off decision, as [plaintiff] contends.” Def.’s MJAR at
16. Next, the government argues the Agency did not minimize the differences between the
proposals for either Factor 1 or Factor 2 because: (1) the SSA found the offerors were
technically equal under Factor 1; and (2) plaintiff only submitted one relevant contract for Factor
2, past performance, when the RFQ required three relevant contracts. Id. at 17–20. The
government then indicates although the SSA credited plaintiff for its more relevant past
performance, both offerors “demonstrated that they could successfully perform the work under
the contract,” and “there was not a significant difference in the offerors’ technical ratings –
which made price an important consideration.” Id. at 22. This did not transform the best value
trade-off into a lowest-price technically-acceptable procurement. Lastly, the government
maintains the SSA sufficiently documented the best value determination because “the SSA
undertook a comprehensive comparison of the offerors” and “reasonably explained his thought
process in the trade-off analysis.” Id. at 24.

        The intervenor similarly responds by arguing the Agency’s best value determination was
reasonable. First, “the SSA did not apply unequal weights to the various subfactors when
performing his analysis.” Intervenor’s MJAR at 25. Next, objecting to plaintiff’s contention that
the SSA effectively conducted a lowest-price technically-acceptable procurement, intervenor
argues, “the plain language of the [Source Selection Decision Document] clearly establishes that
the SSA traded off [plaintiff’s] superior past performance against its cost premium,” a

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determination intervenor maintains was “eminently reasonable.” Id. at 39–40. Lastly, intervenor
emphasizes the thoroughness of the SSA’s best value determination, as well as the FAR’s
requirement only for “minimum documentation” to award a BPA to a Federal Supply Schedule
contract holder. Id. at 42 (quoting FAR 8.405-3(a)(7)).

                  i.   Whether the best value trade-off was based on an evaluation
                       inconsistent with the Solicitation

        When a contract is “to be awarded based on ‘best value,’ the contracting officer ha[s]
even greater discretion than if the contract were to [be] awarded on the basis of cost alone.”
Galen Med. Assocs., 369 F.3d at 1330 (citing E.W. Bliss Co., 77 F.3d at 449). Moreover, “[t]he
greater the discretion granted to a contracting officer, the more difficult it will be to prove the
decision was arbitrary and capricious.” Id. (quoting Burroughs Corp. v. United States, 617 F.2d
590, 597 (Ct. Cl. 1980)). “Where agency officials reasonably and properly exercise their
discretion when conducting a best value analysis, the Court will not disturb an agency award.”
Blackwater Lodge & Training Ctr., Inc. v. United States, 86 Fed. Cl. 488, 514 (2009) (citing
E.W. Bliss Co., 77 F.3d at 449).

        The RFQ stated, “[t]he Government may also award to other than the highest technically
rated quote if the Government determines that a price premium is not warranted.” AR at 128. It
also provided, “[t]he importance of price will increase as the difference in technical ratings . . .
between the Offerors decreases.” Id. The SSA gave both offerors “good” ratings under Factor 1,
the most important factor, and gave both offerors “satisfactory” ratings under Factor 2, the next
most important factor. Given both proposals were technically equal, price understandably
increased in importance to the SSA’s best value determination. For the same reasons previously
discussed in Section II.B.1, the Court finds the Agency adhered to the RFQ’s evaluation scheme
in evaluating the proposals under Factor 1’s five equally-weighted subfactors. Since intervenor
demonstrated it would be able to successfully perform the contract at a lower price, the SSA’s
decision to award intervenor the contract was rational. Accordingly, the Court finds the
Agency’s best value trade-off was reasonable.

                 ii.   Whether the agency conducted a Lowest Price Technically Acceptable
                       procurement rather than a Best Value Trade-Off

        The Court of Federal Claims has reiterated, “an agency may select a lower-priced,
technically-lower-rated proposal in a best value procurement even when technical factors have
been identified as being of greater importance than price, where it reasonably concludes that the
technically superior proposal does not warrant a price premium.” Bahrain Mar. & Mercantile
Int’l BSC (C) v. United States, 118 Fed. Cl. 462, 481 (2014) (citing Mil-Mar Century Corp. v.
United States, 111 Fed. Cl. 508, 553 (2013)); Allied Tech. Grp., Inc. v. United States, 94 Fed. Cl.
16, 49 (2010); Afghan Am. Army Servs. Corp. v. United States, 90 Fed. Cl. 341, 360 (2009). The
RFQ in this procurement similarly stated, “the Government may . . . award to other than the
highest technically rated quote if the Government determines that a price premium is not
warranted.” AR at 128 (emphasis added).




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        Here, both offerors had identical adjectival ratings for Factors 1 and 2, but the difference
in price was nearly 15% of the overall contract, or almost $1 million. Given the SSA’s wide
discretion in this best value procurement, the Court cannot say the Agency’s award to the lower
priced technically equal proposal was arbitrary or capricious. The SSA considered each
proposal’s strengths and weaknesses beyond the adjectival ratings and determined although
plaintiff’s past performance was relevant, and thus “superior,” that superiority did not warrant
the price premium. That determination did not transform this procurement from best value to
lowest-price, technically-acceptable. “Procurement officials have substantial discretion to
determine which proposal represents the best value for the government.” E.W. Bliss Co., 77 F.3d
at 449. The Court finds the SSA properly exercised that “substantial discretion” to determine
intervenor’s proposal—while also the lower priced and technically acceptable—represented the
best value to the Agency.

                    iii.   Whether the SSA sufficiently documented the best value trade-off

        “[I]t is well settled that an agency must explain its action with sufficient clarity to permit
‘effective judicial review.’” Timken U.S. Corp. v. United States, 421 F.3d 1350, 1355 (Fed. Cir.
2005) (quoting Camp v. Pitts, 411 U.S. 138, 142–43 (1973)). “The sufficiency of the
documentation of a finding of technical superiority or equality depends on the record supporting
the finding; for example, conclusory statements of superiority or equality are insufficient when
the record reflects differences in technical merit between a protestor’s proposal and the selected
proposal.” IBM Corp., 101 Fed. Cl. at 761.

        “This is not a case in which an SSA concluded without explanation that a higher-priced
and technically superior proposal was or was not worth the premium.” Id. at 764. The SSA’s
comparative analysis for each factor and subfactor spanned over eight pages. See AR at 1072–
1081. The SSA then used almost two pages to thoroughly explain the best value trade-off
decision. See id. at 1081–83. Plaintiff takes a single statement out of its greater context by
arguing the SSA only made a “bare statement” that plaintiff’s proposal was not worth the 15%
price premium. Pl.’s MJAR at 24. In reality, the SSA went into great detail evaluating the
strengths each proposal represented, but concluded:

       After accomplishing the integrated assessment, considering the established and
       stated order of importance for the evaluation factors in accordance with the RFQ,
       it is my determination that [intervenor’s] proposal offers the best value for fulfilling
       the Government’s requirements. [Intervenor’s] overall price is lower than
       [plaintiff’s] overall price, and I do not find that [plaintiff’s] more favorable past
       performance merits a price premium of $900,712.50. [Plaintiff’s] proposal has not
       demonstrated any number of strengths or benefits (including better past
       performance) that warrant the Government paying this price premium estimated to
       be 15%.

       [Intervenor’s] proposal yields confidence that they will successfully perform the
       work under the contract. I have determined that [intervenor’s] proposal is a fair
       and reasonable price and awarding the Blanket Purchase Agreement to them is in
       the best interest of the Government.

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AR at 1082–83. The SSA’s best value determination was not conclusory, nor did it conclude
without explanation that plaintiff’s proposal was not worth the price premium. Based on this
record, the Court finds the SSA sufficiently documented the best value determination by
thoroughly explaining why intervenor’s proposal represented the best value to the government.

        This record does not show the Agency’s contract award to intervenor was arbitrary or
capricious. The SSA considered the proposals “essentially technically equal.” AR at 1082. The
SSA’s responsibility, then, was to identify which of the two proposals presented the best value to
the government. It was reasonable for the SSA to determine intervenor’s technically equal
proposal presented the best value because it demonstrated an ability to successfully perform the
required work at a lower price—a determination which the RFQ permitted. Based on this record,
the Court cannot say the Agency’s decision was arbitrary or capricious or otherwise not in
accordance with law.

               3. Permanent Injunction

         As previously stated, the Court considers the following factors when determining whether
to issue a permanent injunction: “(1) whether . . . the plaintiff has succeeded on the merits of the
case; (2) whether the plaintiff will suffer irreparable harm if the court withholds injunctive relief;
(3) whether the balance of hardships to the respective parties favors the grant of injunctive relief;
and (4) whether it is in the public interest to grant injunctive relief.” PGBA, LLC, 389 F.3d at
1228–29. Turning first to factor one, plaintiff is not entitled to injunctive relief because plaintiff
does not prevail on the merits. The Court therefore does not reach the remaining prongs of the
test for a permanent injunction. Info. Tech. & Applications Corp. v. United States, 51 Fed. Cl.
340, 357 n.32 (2001), aff’d, 316 F.3d 1312 (Fed. Cir. 2003) (“Absent success on the merits, the
other factors are irrelevant.”).

               4. Supplementation of the Administrative Record

        Plaintiff moved to supplement the administrative record with two documents: (1) a
declaration of plaintiff’s director; and (2) plaintiff’s incumbent contract. See Pl.’s Mot. to Suppl.
AR, Exs. A–B. “Plaintiff offers the attached exhibits only to assist the Court in assessing the
irreparable harm and balance of hardship factors associated with determining [whether] a
permanent injunction should issue.” Id. at 1.

        “[T]he parties’ ability to supplement the administrative record is limited.” Axiom Res.
Mgmt., Inc. v. United States, 564 F.3d 1374, 1379 (Fed. Cir. 2009). Plaintiff only seeks to
supplement the administrative record to bolster its argument regarding the second and third
factors for a permanent injunction: irreparable harm and balance of the hardships. Since the
Court finds plaintiff is not entitled to injunctive relief based on a failure to succeed on the merits
under the first factor, any supplementation to the administrative record directed to the remaining
factors provides no further value to the Court’s decision-making process. Accordingly, the Court
denies plaintiff’s motion to supplement the administrative record as moot.

III.   Conclusion

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        The administrative record in this case does not establish the Agency’s evaluation of the
proposals or decision to award the contract to intervenor was arbitrary, capricious, or otherwise
not in accordance with law. For the foregoing reasons, plaintiff’s motion for judgment on the
administrative record is DENIED, and the government’s and intervenor’s cross-motions for
judgment on the administrative record are GRANTED. Plaintiff’s motion to supplement the
administrative record and motion to withdraw its motion for preliminary injunction are DENIED
AS MOOT. The Clerk is directed to enter judgment in accordance with this disposition.

       IT IS SO ORDERED.


                                                      s/ Ryan T. Holte
                                                      RYAN T. HOLTE
                                                      Judge




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